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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                      Petitioner,

   v.                                                       Case No. 2:25-cv-01963

   Donald J. TRUMP, in his official capacity as             Hon. Michael E. Farbiarz
   President of the United States; William P. JOYCE,
   in his official capacity as Acting Field Office              CERTIFICATE OF
   Director of New York, Immigration and Customs                   SERVICE
   Enforcement; Caleb VITELLO, Acting Director,
   U.S. Immigration and Customs Enforcement; Kristi
   NOEM, in her official capacity as Secretary of the
   United States Department of Homeland Security;
   Marco RUBIO, in his official capacity as Secretary
   of State; and Pamela BONDI, in her official capacity
   as Attorney General, U.S. Department of Justice,

                      Respondents.


        I hereby certify that on March 20, 2025, I electronically filed a copy of the

  following on behalf of proposed amici curiae Foundation for Individual Rights and

  Expression, The Rutherford Institute, the First Amendment Lawyers Association,

  the National Coalition Against Censorship, and PEN America: (1) Notice of Motion

  for Leave to File Brief as Amici Curiae in Support of Petitioner’s Motion for

  Preliminary Injunction; (2) Brief in Support of Amici Curiae’s Motion; (3) the

  Proposed Amici Curiae Brief; and (4) Proposed Form of Order.

        Notice of this filing will be sent to all parties for whom counsel has entered an

  appearance by operation of the Court’s electronic filing system.

  Dated: March 20, 2025                      Respectfully Submitted,



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                                       /s/ Greg H. Greubel
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